









Petition for Writ of Mandamus Denied and Opinion filed February 13, 2003









Petition for Writ of Mandamus Denied and Opinion filed
February 13, 2003.

&nbsp;

In The

&nbsp;

Fourteenth Court of Appeals

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&nbsp;

NO. 14-03-00141-CV

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&nbsp;

IN RE JOSEPH JOE HANDY, Relator

&nbsp;

&nbsp;



&nbsp;

ORIGINAL
PROCEEDING

WRIT
OF MANDAMUS

&nbsp;



&nbsp;

M E M O R A N D U M&nbsp;&nbsp; O
P I N I O N

On January 31, 2003, relator,
an inmate, filed a petition for writ of mandamus in this Court seeking credit
on his sentence for Astreet time.@&nbsp; See Tex. Gov=t. Code Ann. ' 22.221;&nbsp; see also Tex. R. App. P. 52.

We deny relator=s petition for writ of mandamus.

&nbsp;

&nbsp;

PER CURIAM

&nbsp;

&nbsp;

Petition Denied
and Opinion filed February 13, 2003.

Panel consists of
Chief Justice Brister and Justices Fowler and Edelman.





